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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

CARMEN CONSOLINO, et al.,                     )
                                              )
                 Plaintiffs,                  )       Case No. 17-cv-09011
                                              )
v.                                            )       The Honorable Judge Robert M. Dow, Jr.
                                              )
THOMAS J. DART, et al.,                       )
                                              )
                 Defendants.                  )

                     JOINT STATUS REPORT PURSUANT TO DKT. 126

          NOW COME, the parties, jointly through their respective counsels, Cass T. Casper,

DISPARTI LAW GROUP, P.A., Richard F. Linden, Law Offices of Richard Linden, and Peter

Bustamante, Law Offices of Peter Bustamante, for Plaintiffs, and Justin L. Leinenweber,

Leinenweber Baroni & Daffada, LLC, and Ethan White, Emery Law, Ltd., for Sheriff’s

Defendants, and Michael Kuczwara, Jr. and David Cascio, Esq., Laner Muchin, for Defendant

Cook County, Illinois, and report as follows on the status of the above-captioned cause pursuant

to this Court’s June 14, 2022 order for a status report (Dkt. 126).

     I.      Outstanding Discovery Issues.

     1. The parties report that there is one deposition remaining to be conducted of Zelda

Whittler-Martin, former Undersheriff and a party Defendant, which is scheduled to take place on

August 29, 2022, at 10:00 a.m. via Zoom. Her deposition has been rescheduled multiple times

without objection by any party due to this deponent’s severe medical issues necessitating

rescheduling.

     2. Cook County, Illinois is still in the process of responding to a subpoena for documents

from Plaintiffs.

     3. Plaintiff Antonio Belk amended his bankruptcy schedules to account for this case and the
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Bankruptcy Trustee in his case is currently retaining counsel to prosecute his claims here, which

most likely will be Belk’s current counsel. Various disclosures will be made about this in due

course, anticipated to be this week (August 15, 2022).

   4. Plaintiffs have a supplemental set of documents being produced on August 15, 2022 that

will not necessitate depositions.

   II.     Plaintiffs Seek A Stay Of Dispositive Motion Briefing Pending Completion Of
           Discovery In The Tate Case Pending In State Court; Defendants Oppose A Stay.

   5. As noted, the Tate case is pending in the Circuit Court of Cook County, Illinois and

involves the layoff/termination of the Cook County Correctional Commanders. It was filed by

different counsel in 2018, but the Tate Plaintiffs are now being represented by the same counsel

as in this case. The case is in discovery, with depositions ongoing.

   6. Depositions are being conducted on an ongoing basis in Tate, including this month and in

September. It is expected that depositions in Tate will conclude this Fall.

   7. Plaintiffs’ position is that, because the depositions in Tate involve many of the same

deponents as in this case, and because the issues are similar and involve, inter alia, whether the

Commanders were terminated/laid off in violation of the First Amendment for attempting to

form a union, the testimony obtained in the depositions in Tate is directly relevant to the merits

of this case, including because it is possible deponents may make contradictory statements in

Tate from their depositions in this case.

   8. Defendants’ position is to oppose a stay because Plaintiffs in this case have had ample

opportunity to conduct depositions, and ask whatever questions they felt relevant for Tate. It

would be fundamentally unfair and contrary to the Federal Rules of Civil Procedure to allow

Plaintiffs, represented by the same counsel here as in Tate, to effectively depose Defendants’

witnesses twice, if they were able to utilize the deposition transcripts from Tate in this case.

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   9. Plaintiffs will be filing a motion seeking to stay discovery in this case pending

completion of discovery in Tate for the reasons outlined herein. Defendants intend to oppose

any such motion for the reasons stated briefly above and for which additional argument will be

provided in any opposition brief.

   III.    Expert Discovery Schedule.

   10. Plaintiffs will be calling experts in this case, previously disclosed on their Supplemental

MIDP Disclosures on April 26, 2022.

   11. The parties seek to enter an expert discovery schedule as follows:

           a. Plaintiffs’ expert reports due: 9/30/2022, which is timed to account for Zelda

               Whittler-Martin’s deposition on August 29, 2022.

           b. Defendants’ expert reports and rebuttal reports, if any, due: October 29, 2022.

           c. Plaintiffs’ rebuttal report due, if any: November 14, 2022.

           d. All expert depositions completed by November 30, 2022.

   12. The parties note that expert discovery may proceed regardless of whether or not the Court

enters a stay as discussed in Section II, supra.

Respectfully submitted,                                Respectfully submitted,

                                                       /s/ Justin Leinenweber
/s/ Cass T. Casper                                     /s/ Ethan White
_______________________________                        ____________________________________
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                                                    Respectfully submitted,

                                                    /s/ David Cascio
                                                    ____________________________________
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                                CERTIFICATE OF SERVICE
        The undersigned hereby certifies that he served the foregoing document on all counsel of

record via this Court’s CM/ECF filing system on August 15, 2022, and that all such counsels are

registered e-filers.

                                             /s/ Cass T. Casper
                                             __________________________________________




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